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4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No. 2:14-cr-00330-GEB
8                   Plaintiff,
9         v.                              ORDER
10   GUO NENG MA,
11
                    Defendant.
12

13              The Government’s “Request to Seal Government’s Two-Page

14   Sentencing Letter,” submitted as an email attachment to an in

15   camera request for a sealing order, contains argument that should

16   be filed on the public docket. The “Two-Page Sentencing Letter”

17   also contains the following legal argument in a footnote which

18   should have been filed on the public docket:

19              “[I]n determining the extent of a departure
                under [18 U.S.C.] § 3553(e), ‘[t]he district
20              court   may    not . . .   consider   factors
                unrelated to the defendant’s assistance.’”
21              United States v. Jackson, 577 F.3d 1032, 1036
                (9th Cir. 2009) (citing United States v.
22              Auld, 321 F.3d 861, 867 (9th Cir. 2003)).
                “When the district court grants a waiver of
23              the mandatory minimum pursuant to § 3553(e),
                the departure establishes the new minimum
24              sentence for the defendant, and the court may
                not reduce the sentence further on the basis
25              of the § 3553(a) factors.” Id. “In other
                words, the court may increase a sentence on
26              the basis of the § 3553(a) factors, but may
                not reduce the sentence further.” Id.
27

28   (“Two-Page Sentencing Letter” at 1 n.1.)
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1                This    argument      in    the     Sentencing        Letter      has    been

2    considered and is made public because it responds to argument in

3    Defendant Guo Neng Ma’s Sentencing Memorandum in which he argues

4    in essence that he is entitled to a downward variance under the

5    § 3553(a) factors to a sentence of a year and a day.                       However, on

6    March 2,    2016    Defendant     Ma    filed    a    document      withdrawing         his

7    Sentencing Memorandum (ECF No. 62), in which he states he “is in

8    agreement with the [Government’s] suggestion for sentencing as

9    contained    in    [its]    Memorandum.”      Id.       It   is    unclear       what   Ma

10   references as Memorandum or whether he withdraws his Sentencing

11   Memorandum    in    light    of   the   ruling       herein.      Even   if   Ma    still

12   withdraws his Sentencing Memorandum, the withdrawal filing was

13   too late to avoid judicial expenditure of time analyzing Ma’s

14   sentencing arguments. That analysis included reviewing the ruling

15   that sealed the Plea Agreement in this case, which is overbroad,

16   and the following maximum penalty provision in the Plea Agreement

17   which bears on the referenced arguments: “The maximum sentence

18   that the Court can impose is 40 years of incarceration . . . The

19   charge to which defendant is pleading guilty carries a five-year

20   mandatory minimum sentence, absent a motion by the government for
21   reduction pursuant to 18 U.S.C. § 3553(e).” (Plea Agreement at 7,

22   ECF No. 48 *SEALED*.) In addition, the factual basis attached to

23   the Plea Agreement was considered in which Defendant Ma admits

24   his criminal activity involving nine marijuana grow houses and

25   states he “set up the grows in the nine grow houses and placed

26   workers inside,” and he “periodically collected grown, processed
27   marijuana     and     brought      it    to      a     distributor         for      wider

28   distribution.” (Ex. A to Plea Agreement at A-1.)
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1                The proponent of a sealing order must articulate “the

2    reasons     supporting       [sealing] . . .        in     [proposed]    findings.”

3    Oregonian Publ’g Co. v. U.S. Dist. Court for Dist. of Oregon, 920

4    F.2d 1462, 1466 (9th Cir. 1990); see Unabom Trial Media Coal. v.

5    U.S. Dist. Court, 183 F.3d 949, 951 (9th Cir. 1999) (stating “a

6    court may order closure [in] a criminal proceeding if . . . the

7    court articulates specific factual findings supporting closure”).

8    Under     sealing        jurisprudence,        a   district    court    must      make

9    “specific, on the [public] record findings . . . demonstrating

10   that    closure     is    essential   to       preserve    higher   values   and   is

11   narrowly tailored to serve that interest” unless it is shown that

12   all or part of such findings should be filed under seal. Press-

13   Enter. Co. v. Superior Court of Cal. for Riverside Cty., 478 U.S.

14   1, 13-14 (1986) (internal quotation marks omitted); see Wash.

15   Post v. Robinson, 935 F.2d 282, 289 n.9 (D.C. Cir. 1991) (“The

16   trial court should only seal that part of its findings that is

17   necessary to protect the secrecy of the sealed plea agreement,

18   and it must make every effort to explain as much of its decision

19   as possible on the public record to enable an interested person

20   to intelligently challenge the decision.”); cf. Littlejohn v. Bic
21   Corp., 851 F.2d 673, 682 (3d Cir. 1988) (indicating that such a

22   “[p]ublic    [filing]       serves    to   promote        trustworthiness    of    the

23   judicial process, to curb judicial abuses, and to provide the

24   public with a more complete understanding of the judicial system,

25   including a better perception of its fairness”).                       In addition,

26   the proponent of sealed findings should notify the public that
27   such    proposed    sealed     findings    have     been    submitted   in   the    in

28   camera proceeding and why they were not filed on the public
                                                3
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1    docket.

2                  The procedural and substantive safeguards
                   described    in     [Ninth    Circuit    sealing
3                  precedent] are not mere punctilios, to be
                   observed when convenient. They provide the
4                  essential, indeed only, means by which the
                   public’s voice can be heard. All too often,
5                  parties   to    the   litigation    are   either
                   indifferent    or    antipathetic    to   [these
6                  safeguards]. This is to be expected: it is
                   not their charge to represent the rights of
7                  others. However, balancing interests cannot
                   be performed in a vacuum. Thus, providing the
8                  public notice and an opportunity to be heard
                   ensures that the trial court will have a true
9                  opportunity to weigh the legitimate concerns
                   of all those affected by a closure [or
10                 sealing]   decision.     Similarly,   entry   of
                   specific findings allows fair assessment of
11                 the trial judge’s reasoning by the public and
                   the appellate courts, enhancing trust in the
12                 judicial process and minimizing fear that
                   justice is being administered clandestinely.
13
     Phx. Newspapers, Inc. v. U.S. Dist. Court for Dist. of Ariz., 156
14
     F.3d 940, 951 (9th Cir. 1998).
15
                   The Government’s “[Proposed] Order Sealing Documents As
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     Set   Forth     in   Government’s     Notice”   does    not   state   that   the
17
     proposed sealed findings the Government submitted in its “Request
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     to Seal Government’s Two-Page Sentencing Letter” contains what it
19
     opines are the “specific factual findings supporting closure,”
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     Unabom    Trial      Media   Coal.,   183   F.3d   at    951;   nor   has    the
21
     Government made “every effort to [have the Court] explain as much
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     of its decision as possible on the public record to enable an
23
     interested person to intelligently challenge the decision.” Wash.
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     Post, 935 F.2d at 289 n.9; cf. Doe v. Pub. Citizen, 749 F.3d 246,
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     268 (4th Cir. 2014) (indicating that a publicly filed sealing
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     request should “provide a kind of index to judicial proceedings
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     and documents, [sufficient to] endow the public and press with
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1    the capacity to exercise their rights guaranteed by the First

2    Amendment” (internal quotation marks omitted)).

3               Therefore, the documents emailed to chambers for in

4    camera consideration are treated as having been returned to the

5    Government under the rationale of Local Rule 141(e)(1), which

6    prescribes: “If a [sealing r]equest is denied in full or in part,

7    the Clerk will return to the submitting party the documents for

8    which sealing has been denied.” See also United States v. Baez–

9    Alcaino, 718 F. Supp. 1503, 1507 (M.D. Fla. 1989) (indicating

10   that when a judge denies a sealing request, the party submitting

11   the request then decides how to proceed in light of the ruling).

12   Dated:   March 3, 2016

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